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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,
                                            Ticket Numbers: F5365038, F5365039,
                    Plaintiff,              FBGB003Y, FBJF008W, FBJF008X,
                                            FBJF008Y, FBJF008Z, FBJF0090, FBJF0091
 vs.                                        Location Code: M5, M8
                                            Disposition Code: PE, NC
 MARK E. WHITE,
                                            JUDGMENT IN A CRIMINAL CASE
                    Defendant.


       The Defendant, Mark E. White, was present in court and entered a plea of
guilty to the charges of Violations F5365038, F5365039.
       The court imposes the following sentence pursuant to the Sentencing
Reform Act of 1984:
             1. Defendant must pay the fees for both violations for a total of
                $80.00. These shall be paid as follows: Payments shall begin on
                May 1, 2023, and every month thereafter in the amount of $20.00
                per month until paid in full. Payments may be mailed to:
                Central Violations Bureau
                PO Box 780549
                San Antonio, TX 78278

                or paid online at: http://www.cvb.uscourts.gov
             2. Violations FBGB003Y, FBJF008W, FBJF008X, FBJF008Y,
                FBJF008Z, FBJF0090, FBJF0091 are dismissed upon the
                government’s motion.
             3. Defendant is prohibited from being on National Forest Service
                Lands for a period of 1 year within the State of Montana.
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      Defendant is advised that pursuant to 18 U.S.C. § 3742(g) and Federal Rule
of Criminal Procedure 58(g)(2)(B), Defendant has the right to appeal the sentence
imposed in this case to a United States District Court Judge within fourteen (14)
days after entry of judgment, by filing with the Clerk of District Court a statement
specifying the judgment from which the appeal is taken, and by serving a copy of
the statement upon the United States Attorney (personally or by mail) and filing a
copy with Magistrate Kathleen L. DeSoto. If you appeal, you will be required to
pay a $39 fee pursuant to 28 U.S.C. § 1914, Fee Schedule, subsection (10) at the
time of filing your appeal. You also will be required to furnish the District Court
Judge a copy of the record, which consists of the “original papers and exhibits in
the case together with any transcript, tape or other recording of the proceedings
and a certified copy of the docket entries which shall be transmitted promptly to
the clerk of court.” Fed. R. Crim. P. 58(g)(2)(c).


Date of Imposition of Judgment: March 31, 2023.
                                            23.


 3/31/2023
____________________                                 ______________________
                                                     ________________________  _
Date Signed                                          KATHLEEN L.   L DESOTO
                                                     United States Magistrate Judge
